                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                              DOCKET NO. 3:96-cr-134-4FDW


 UNITED STATES OF AMERICA,                       )
                                                 )
                  v                              )
                                                 )
                                                 )                   ORDER
 GEMINI BOYD,                                    )
                                                 )
                Defendant.                       )


       THIS MATTER is before the Court on Defendant’s pro se motion (Doc # 337 ) for “further

reduction” of his sentence pursuant to 18 U.S.C. § 3582(c)(2) and the new crack cocaine sentencing

guidelines. Defendant’s motion is DENIED for reasons stated in the two Presentence Investigation

Reports and prior Court’s Order (Doc.# 328, 329 and 330).

       IT IS SO ORDERED.

                                                Signed: October 13, 2009




      Case 3:96-cr-00134-FDW           Document 338       Filed 10/13/09      Page 1 of 1
